                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                              DOCKET NO.: 5:06CR22


UNITED STATES OF AMERICA,                     )
                                              )
               PLAINTIFF                      )
                                              )
       v.                                     )               ORDER
                                              )
STERLING LEE DREW                             )
                                              )
               DEFENDANT.                     )
                                              )


       THIS MATTER is before the Court on Defendant’s Motion for Return of Property

Pursuant to Federal Rule of Criminal Procedure 41(g), filed April 4, 2008. (Doc. 705.) The

Government responded to Defendant’s Motion on May 13, 2008. (Doc. 728.)

       As was the case here, when the government commences administrative forfeiture (non-

judicial forfeiture), Section 983 mandates that the government send written notice to interested

parties within 60 days of seizure of the property to be forfeited. Defendant argues that he is due

$4,912.00 in United States currency because the Government failed to comply with the notice

provisions required by 18 U.S.C. § 983(a)(1)(A)(i).

       The record shows that the Government provided written notice to Defendant in letters

sent by certified mail to three different addresses on June 27, 2006, forty-eight days after the

seizure. (Doc. 728-2). In addition to these three letters, Defendant’s own Motion provides a

fourth copy of written notice from the Government that was addressed to Defendant’s attorney,

F. Lane Williamson. (Doc. 705 at 11.)

       Because the Government complied with the requirements of notice provided in United

States Code, Section 983(a)(1)(A)(i), Defendant’s motion is denied.

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   THEREFORE, Defendant’s Motion for Return of Property is hereby DENIED.




                                    Signed: February 5, 2014




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